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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:17-cv-01602-RM-MJW
  JOSE TREJO;
  MARISOL TREJO;
  OBDULIA JULIE CORTES;
  VILMA DE JESUS ALVARENGA CARRANZA; and those similarly situated,
                 Plaintiffs,
         v.
  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D/B/A XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY; and
  WESTIN DIA OPERATOR, LLC,
                 Defendants.

    DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR PARTIAL DISMISSAL
       OF PLAINTIFFS’ CLASS AND COLLECTIVE ACTION COMPLAINT

         Defendants Xclusive Staffing, Inc. (“Xclusive”); Xclusive Management, LLC d/b/a

  Xclusive Staffing; Xclusive Staffing of Colorado, LLC; Diane Astley; and Westin DIA Operator,

  LLC (“Westin”), referred to collectively as “Defendants,” submit this Reply in support of their

  Motion (Dkt. No. 20, “Motion”) for partial dismissal of Plaintiffs’ Class and Collective Action
  Complaint (Dkt. No. 1, “Complaint”), and state as follows:

                                          INTRODUCTION
         As noted in Defendants’ Motion, this case has been consolidated for the purposes of

  pretrial discovery with Valverde v. Xclusive Staffing, Inc., 16-cv-00671-RM-MJW (D. Colo.);

  Plaintiffs’ counsel in this case also represent the plaintiffs in Valverde; the plaintiffs in Valverde

  and the Plaintiffs in this case have filed complaints with nearly identical factual allegations and

  claims; and in Valverde, the Court dismissed the same claims that Defendants now seek to

  dismiss in this matter. As explained below, Plaintiffs’ Response to Defendants’ Motion (Dkt.

  No. 25, “Response”) often rehashes the same arguments made by the plaintiffs in Valverde, and
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  already rejected by the Court in that case. Although Plaintiffs explain that they “respectfully

  disagree” with the Court’s rulings in Valverde, there is no reason to reach different results here,

  and the Court should grant Defendants’ Motion in its entirety.1

                                            ARGUMENT

  I.     Plaintiffs’ RICO Claims Should Be Dismissed.

         Courts have described civil RICO claims as “an unusually potent weapon – the litigation

  equivalent of a thermonuclear device.” Brookhaven Town Conservative Comm. v. Walsh, 258 F.

  Supp. 3d 277, 283 (E.D.N.Y. 2017). As explained by the Walsh court:
         Because the mere assertion of a RICO claim . . . has an almost inevitable
         stigmatizing effect on those named as defendants, . . . courts should strive to flush
         out frivolous RICO allegations at an early stage of the litigation. Indeed, although
         civil RICO may be a ‘potent weapon,’ plaintiffs wielding RICO almost always
         miss the mark.
  Id. (quotation marks and citations omitted).    Courts have, therefore, cautioned that “particular

  care is required when evaluating a RICO claim at the Rule 12 stage to prevent abusive or

  vexatious treatment of defendants.” Bendfeldt v. Window World, Inc., 2017 WL 4274191, *6

  (W.D. N.C. 2017) (quotation marks omitted); Polzin v. Barna & Co., 2007 U.S. Dist. LEXIS

  68221, *13 (E.D. Tenn. 2007) (“Mere invocation of the statute has such an in terrorem effect

  that it would be unconscionable to allow it to linger in a suit and generate suspicion and

  unfavorable opinion of the putative defendant unless there is some articulable factual basis

  which, if true, would warrant recovery under the statute.”). See also Midwest Grinding Co., Inc.

  v. Spitz, 976 F.2d 1016, 1025 (7th Cir. 1992) (observing that “[w]hile it is clear that the scope of

  civil RICO extends beyond the prototypical mobster or organized crime syndicate . . ., it is


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    Plaintiffs argue that Defendants failed to fully confer regarding the Motion, but this argument
  should be rejected. Plaintiffs clearly told Defendants that they had no intention of dropping their
  RICO claims and non-Colorado state law claims. See Dkt. No. 25-1 at p. 5. Furthermore,
  Plaintiffs’ argument rings hollow; in response to Defendants’ Motion, Plaintiffs have not sought
  to file an amended Complaint pursuant to Fed. R. Civ. P. 15(a)(1)(B) and have, instead, argued
  in their Response that their allegations are sufficient to support their claims.

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  equally evident that RICO has not federalized every state common-law cause of action available

  to remedy business deals gone sour,” and noting “[t]he widespread abuse of civil RICO stems

  from the fact that all modern business transactions entail use of the mails or wires – giving

  plaintiffs the [appearance of a] jurisdictional hook”); Kirk v. Heppt, 423 F. Supp.2d 147, 150

  (S.D.N.Y 2006) (noting that courts “must be wary of putative civil RICO claims that are nothing

  more than sheep masquerading in wolves’ clothing”). With these lessons in mind, Plaintiffs’

  RICO claims should be dismissed.

         A.     Plaintiffs’ RICO claims are precluded by the FLSA.
         Defendants’ Motion seeks dismissal of Plaintiffs’ RICO claims for the same reason the

  Court dismissed the RICO claims in Valverde. Motion at 4–5. Namely, to the extent Plaintiffs’

  RICO claims stem from alleged violations of the FLSA, the claims are precluded by the FLSA

  and should be dismissed. See Valverde, Dkt. No. 193 at pp. 9–11. In their Response, Plaintiffs

  merely state their disagreement with the Valverde holding, and then briefly make the same

  arguments previously rejected by the Court in that case. Id.; Response at 3. Accordingly, here

  the Court should now hold that, to the extent Plaintiffs’ RICO claims stem from alleged

  violations of the FLSA, the claims must be dismissed.

         B.     Plaintiffs also lack standing to bring their RICO claims.

                i.      Plaintiffs fail to allege a concrete and tangible injury.

         To sustain a RICO claim, Plaintiffs’ alleged injury must be based on “a concrete financial

  loss.” Ivar v. Elk River Partners, LLC, 705 F. Supp. 2d 1220, 1232 (D. Colo. 2010). Plaintiffs’

  alleged injuries are wages they believe are owed to them under other laws, which Plaintiffs seek

  to recover through other claims asserted in the Complaint. Compl. at ¶¶ 195, 202. Thus,

  Plaintiffs’ alleged RICO injuries – i.e., money allegedly owed for unpaid wages – depends

  directly on the result of their other claims. Unless Plaintiffs prevail on their underlying wage

  claims, they have no RICO injury.



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         Plaintiffs attempt to characterize Defendants’ argument as “foreclose[ing] civil RICO

  liability in any case where the plaintiff also asserts a non-RICO claim seeking recovery of

  damages for the plaintiffs’ monetary harm . . . .” Response at 4. The deficiency in Plaintiffs’

  RICO claim is not that it is brought simultaneously with other claims, but that Plaintiffs cannot

  prove a “concrete financial loss” unless and until they prevail on their other claims in this case –

  i.e., unless and until they show that other laws entitle them to recover alleged unpaid wages.

  Stated differently, the only purported financial injury underlying Plaintiffs’ RICO claim is

  allegedly unpaid wages, and Plaintiffs are only able to show they are entitled to such wages if

  they prevail on their wage claims. Accordingly, Plaintiffs are unable to show any “concrete

  financial loss.”

         Plaintiffs’ reliance on Liquidation Comm'n of Banco Intercontinental, S.A. v. Renta, 530

  F.3d 1339 (11th Cir. 2008) is misplaced. In Renta, the Eleventh Circuit – like Plaintiffs here –

  construe the standing argument as being grounded in a theory that both a RICO claim and other

  claim may not proceed simultaneously. See 503 F. 3d at 1351. Again, Defendants do not

  suggest a broad sweeping rule that RICO claims may not be brought in the same action with

  other claims. Rather, RICO claims may only be founded on an actual, cognizable, and non-

  speculative injury.   Indeed, as Plaintiffs quoted from Renta in their Response, “whether a

  plaintiff must pursue other remedies before a RICO claim depends on whether those other

  contingencies are sufficiently likely to mitigate the plaintiff’s loss that damages in the RICO case

  cannot be ascertained, or may not have occurred at all.” Response at 6 (quoting Renta, 503 F. 3d

  at 1351). Plaintiffs’ RICO injuries depend entirely on the success of their other claims and, thus,

  RICO damages “may not have occurred at all.” The RICO claims fail and must be dismissed.

                 ii.     Plaintiffs’ allegations fail to establish causation.

          Plaintiffs argue that the mail and wire fraud alleged in the Complaint was a “but for” and

  proximate cause for their alleged injuries (i.e., working for Defendants while not being paid their



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  full wages) even though the alleged fraud was not directed at them, and even though they did not

  rely on any fraudulent statements allegedly made by Defendants. Response at 8–9. According

  to Plaintiffs, their RICO claims should survive dismissal because they were “the direct and

  intended victims of the fraud,” and the connection between the alleged fraud and their injuries is

  not too attenuated. Id. These arguments should be rejected.

          As recently explained by the Tenth Circuit in a case where wire fraud was alleged as a

  predicate RICO act, “[a]lthough reliance is not an explicit element of a civil RICO claim, it

  frequently serves as a proxy for both legal and factual causation,” and “causation is often lacking

  where plaintiffs cannot prove that they relied on defendants’ alleged misconduct.” CGC Holding

  Co., Ltd. Liab. Co. v. Broad & Cassel, 773 F.3d 1076, 1089 (10th Cir. 2014). Here, Plaintiffs’

  Complaint is devoid of any allegation that they relied on any alleged misrepresentations when

  deciding to work for Defendants and, in fact, they all but concede they did not rely on any such

  misrepresentations. Response at 9. Plaintiffs’ lack of reliance is, therefore, a strong indication

  that causation is lacking.

         In fact, reviewing the Complaints reveals that there are no allegations sufficient to prove

  proximate causation. In Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 455 (2006), a RICO

  case predicated on allegations of mail and wire fraud, the Supreme Court held that a RICO

  plaintiff cannot circumvent RICO’s proximate cause requirement with a conclusory allegation

  that the defendant intended to harm the plaintiff. Id. at 460–61. Instead, a plaintiff needs to

  allege specific facts showing that mail or wire fraud led directly to his or her injuries. Id.

         Here, Plaintiffs argue in their Response that Xclusive’s alleged mail and wire fraud led

  “directly” to their lost wages because (1) in order to pay Plaintiffs less than they were owed,

  Xclusive and Astley “needed to lie to the USDOL and lie to their clients,” (2) the “lies were not

  designed to harm the USDOL or Xlusive’s clients,” but rather Xclusive’s workers, and thus, (3)

  “Plaintiffs were the intended victims of the fraud.”         Response at 3.     However, Plaintiffs’



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  argument is not support by citations to any allegations in the Complaint and, in fact, none of

  these allegations appear in the Complaint.          In other words, there are no allegations that

  Plaintiffs were directly harmed or were “intended” victims.        Moreover, Plaintiffs have not

  alleged that any of Xclusive clients (like Westin) for whom Plaintiffs worked were “lulled” into

  doing business with Xclusive because of any alleged fraud, or that any fraud directed at the

  USDOL led directly to their failure to receive full wages.         In short, Plaintiffs’ causation

  argument is not support by allegations in the Complaint and is far too attenuated to support a

  civil RICO claim.

         C.      Plaintiffs cannot prove the elements of their RICO claims.
                 i.     The Complaint does not allege an appropriate enterprise.
         Plaintiffs’ First Purported Enterprise is an alleged association-in-fact between Defendant

  Astley and “Xclusive and all of its associated entities and subsidiaries.” Compl. at ¶ 125.

  Plaintiffs allege Defendant Astley owns Xclusive, established Xclusive’s pay practices, was

  responsible for meeting with the DOL during their previous investigations, and it was Defendant

  Astley’s past representations to the DOL that form the basis for the RICO claim. Accordingly,

  Defendant Astley is part-of, and not separate-from, Xclusive and Plaintiffs are unable to meet the

  requirements of an enterprise. See Bd. of Cty. Comm’rs of San Juan Cty. v. Liberty Grp., 965

  F.2d 879, 885-86 (10th Cir. 1992); Yellow Bus Lines, Inc. v. Drivers, Chauffeurs & Helpers

  Local, 883 F.2d 132 (D.C. Cir. 1989).

         Nearly identical RICO allegations were recently rejected by Magistrate Judge Shaffer in

  Llacua v. Western Range Association, 2016 WL 9735747, *22–23 (D. Colo. 2016). In that case,

  one of plaintiffs’ alleged RICO enterprises, the “Richins Enterprise,” consisted of an association-

  in-fact between “WRA (Western Range Association) and Richins, its former executive director



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  and president.” Id. The plaintiffs asserted claims against Richens – i.e., a “RICO person” –

  alleging that he “was substantially involved in WRA’s alleged fraudulent policy of representing

  to state agencies and the DOL . . . that shepherds would be reimbursed for their expenses and

  would not have unreasonable fees deducted from wages, knowing that this would not happen.”

  Id.   Magistrate Judge Shaffer rejected these allegations as insufficient to allege a RICO

  enterprise because “as a matter of law, a corporation and its officer cannot be a RICO

  association-in-fact regarding conduct undertaken in the corporation’s regular business as an

  officer of the corporation.” Id.

         Like in Llacua, here, Plaintiffs allege a corporate officer (Defendant Astley) was engaged

  in an enterprise between herself and the corporation-defendants (“Xclusive and all of its

  associated entities and subsidiaries.”) Compl. at ¶ 125. Also like in Llacua, here, Plaintiffs

  claim Astley, in her role as owner of Xclusive, was involved in conduct relating to Xclusive’s

  ordinary business as an officer of Xclusive, including the conduct that underlies Plaintiffs’ RICO

  claim. Thus, Plaintiffs have not alleged sufficient distinctness between Astley and Xclusive and

  the First Purported Enterprise fails.

         Plaintiffs’ Response relies on Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158

  (2001). In that case Cedric Kushner “sued Don King, the president and sole shareholder of Don

  King Productions, a corporation, claiming that King had conducted the boxing-related affairs of

  Don King Productions in part through a RICO ‘pattern.’” 533 U.S. at 160. Notably, Plaintiffs’

  counsel made nearly identical arguments in Llacua regarding their alleged enterprise as they

  make here, including relying almost exclusively on Cedric Kushner. See Llacua, 2016 WL

  9735747, at *23. Magistrate Judge Shaffer considered Plaintiffs’ counsel’s arguments and had



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  little trouble distinguishing Cedric Kushner, stating, “[t]he case is inapposite because it did not

  involve an overlapping association-in-fact.” Id. Magistrate Judge Shaffer also said,

         Plaintiffs do not allege that Richins was acting other than in his capacity as
         executive director of WRA in the regular business of WRA. Plaintiffs also do not
         allege that Richins took over or influenced WRA so as to obtain an appearance of
         propriety for job orders or applications, nor to engage in criminal conduct that
         could not be as easily discovered as if Richins submitted job orders or
         applications on behalf of only his own ranch.

  Id. (also noting that “lower courts have declined to extend Cedric Kushner beyond its specific

  factual scenario).   Based on these factual distinctions, Magistrate Judge Shaffer held that

  “because Plaintiffs do not allege any enterprise distinct from the persons alleged to have engaged

  in them, Counts IV and V fail as a matter of law.”2 Id. The same is true here. Plaintiffs do not
  allege Defendant Astley was acting other than in her capacity as owner of Xclusive in the regular

  business of Xclusive. Thus, Plaintiffs do not allege an enterprise distinct from Defendant Astley,

  and the First Purported Enterprise fails.

         Plaintiffs’ Second Purported Enterprise consists of “Xclusive and all of its associated

  entities and subsidiaries . . .” Compl. at ¶ 126. Defendant’s Motion fully explains why this

  Second Purported Enterprise cannot support either of Plaintiff’s RICO claims, and Plaintiff’s

  Response fails to make any argument to the contrary. See Response at 11–12.

         The alleged Xclusive Enterprise also fails to support a RICO claim. An association-in-

  fact enterprise is “a group of persons associated together for a common purpose of engaging in a

  course of conduct and requires evidence of an ongoing organization, formal or informal, and by

  evidence that the various associates function as a continuing unit.” Internet Archive v. Shell, 505

  F. Supp. 2d 755, 769 (D. Colo. 2007) (internal quotation marks omitted). Thus, in Airquip, Inc.


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    Judge Blackburn adopted Magistrate Judge Shaffer’s recommendations and found “nothing to
  support any suggestion that the magistrate judge misstated the relevant law or misapplied it to
  the factual allegations of the operative complaint.” See 2016 WL 9735748 (D. Colo. 2016).

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  v. HomeAdvisor, Inc., 2017 U.S. Dist. LEXIS 422618, *4 (D. Colo. 2017), the court explained

  that an “association-in-fact enterprise,” like the alleged Xclusive Enterprise, “must have at least

  three structural features: a purpose, relationships among those associated with the enterprise, and

  longevity sufficient to permit these associates to pursue the enterprise's purpose.”          Here,

  Plaintiffs have not alleged that Xclusive and its clients acted with a shared purpose. Further, as

  explained in HomeAdvisor, a plaintiff must allege that an enterprise’s participants, including its

  non-defendant participants, took some action in furtherance of the alleged enterprise. Id. at 5.

  See also Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1354 (11th Cir. 2016) (finding RICO

  allegations inadequate where plaintiffs failed to allege that other entities in the enterprise “were

  aware of or participated in [defendant's] alleged misrepresentations”). Plaintiffs do not do so

  here. Nor do Plaintiffs allege that Xclusive’s clients otherwise “involved themselves in the

  affairs” of the enterprise, that profits from the scheme were shared among entities in the

  enterprise, or that any clients engaged in any conduct outside their normal business practices. See

  United Food & Commercial Workers Unions & Employers Midwest Health Benefits Fund v.

  Walgreen Co., 719 F.3d 849, 854–55 (7th Cir. 2013). In fact, Plaintiffs’ Response makes no

  attempt to identify any allegations that Xclusive’s clients had some part in operating or managing

  the affairs of the purported Xclusive Enterprise. Plaintiffs simply ignore this issue in their

  Response and, as a result, the Court should hold that the Xclusive Enterprise cannot support a

  RICO claim.

                 ii.     The Complaint fails to allege a racketeering activity.
         As set forth in Defendants’ Motion, in order for Plaintiffs to sustain their RICO claims,

  they must allege that the mail or wires were used “in furtherance” of a fraudulent scheme.

  Motion at 14. The Complaint’s only mail fraud allegations relate to the “USDOL Scheme.”

  Specifically, the Complaint alleges that “[t]he Astley Enterprise and Xclusive Enterprise used the

  mail . . . in furtherance of the fraudulent scheme directed toward the DOL by transmitting

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   fraudulent pay records and checks between Xclusive branches, and Xclusive employees and

   clients.” Compl. at ¶ 144. It also alleges the enterprises used the mail “to send time records to

   its corporate office,” and “to send resulting pay checks back to its branch offices.” Id. at ¶ 145.

   However, as explained in Defendants’ Motion, mailing or wiring time records and paychecks are

   not in furtherance of any scheme to withhold wages because those documents reveal (rather than

   conceal) that employees are not being paid for all time worked. Motion at 14 (citing cases).

   Plaintiffs fail to address this argument in their Response, effectively conceding it.3 Plaintiffs,

   therefore, cannot maintain any RICO claims based on mail fraud.

          Plaintiffs’ Response also fails to address the fact that: (1) that paychecks cannot

   constitute misrepresentations as a matter of law; see Motion at n.2; and (2) the “Electronic

   Timekeeping Scheme” and “Faxed Timesheet Scheme” fail to support a RICO claim because

   sending time records over the wire tends to reveal (rather than conceal) underpayment of wages;

   see Motion at 16. Further, as explained in Defandants’ Motion and despite Plaintiffs’ assertions

   to the contrary: (1) the Complaint fails to allege wire or mail fraud with particularity, and (2)

   statements on Xclusive’s website regarding compliance with the law cannot support the

   “Website Scheme” or allegations of wire fraud because misstatements of law are not actionable

   as fraud.4   See Motion at 13–16; See also Polzin, 2007 U.S. Dist. LEXIS 68221 at *13

   (dismissing RICO claim based on alleged mail and wire fraud because plaintiff “makes no

   allegations whatsoever as to which defendant sent a mailing or made a telephone call. . . .

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     Plaintiffs also fail to adequately explain how transmitting “fraudulent” pay records, checks, and
   time sheets between Xclusive branches, the corporate office, Xclusive employees, and clients
   could possibly be “in furtherance” of a scheme to defraud the USDOL. See Response at n.14.
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     In essence, Plaintiffs’ assertion that the website statements are fraudulent is nothing more than
   their opinion that Xclusive violated the law and any statements to the contrary are fraud.

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   Moreover, plaintiff has failed to illustrate how each of these fifty-five mailings or phone calls

   furthered the fraudulent scheme”). In short, Plaintiffs fail to adequately allege mail fraud or wire

   fraud, and their RICO claims should be dismissed.

   III.   Plaintiffs Lack Standing to Bring Their Fourth, Fifth, and Eighth Causes of Action
          on Behalf of Classes Outside of Colorado.
          As explained in Defendants’ Motion, the Court should dismiss Plaintiffs’ fourth, fifth,

   and eighth causes of action to the extent they are based on the laws of states other than Colorado

   because Plaintiffs – who have worked for Xclusive only in Colorado – lack standing to assert

   claims under the laws of any other states. Motion at 16–17. This Court reached the same
   conclusion in Valverde, refusing the plaintiffs’ request to defer a standing analysis until after a

   class is certified. See Valverde, Dkt. No. 193 at 14–15. In their Response, Plaintiffs simply

   state their disagreement with the Court’s decision in Valverde, and again request that the Court

   defer a standing analysis until after class certification. Response at 16. In other words, Plaintiffs

   fail to raise any new arguments to stave off dismissal. The Court should, therefore, dismiss

   Plaintiffs’ fourth, fifth, and eighth causes of action to the extent they are based on the laws of

   states other than Colorado, just as the Court did in Valverde.

   IV.    Plaintiffs Fail to State a Claim for “Illegal Deductions” Under Colorado Law.
          Plaintiffs allege that Xclusive and Westin made several illegal wage deductions in

   violation of Colorado’s Wage Claim Act, including $3 deductions from each paycheck as a

   processing fee for providing a paycheck, and other deductions for clothing, name tags,

   background checks, tools, and equipment.         Compl. at ¶¶ 99–103, 235.         As explained in

   Defendants’ Motion, the Wage Claim Act permits an employer to make deductions from an

   employee’s pay for goods, services, equipment, and property, as long as there is a written

   agreement between the employer and employee authorizing the deductions. Motion at 17; Colo.

   Rev. Stat. § 8-4-105(1)(b) (2017).    Plaintiffs’ Complaint fails to allege that any $3 deductions

   were unauthorized and, on the contrary, the Complaint specifically alleges that Xclusive and all


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   Plaintiffs entered into contracts permitting $3 to be deducted from each employees’ paycheck.

   See Motion at 18; Compl. at ¶ 99. Accordingly, to the extent Plaintiffs base their seventh cause

   of action on the $3 deductions, the claim should be dismissed. Motion at 17–18.

          Plaintiffs argue, however, that dismissal is improper because Plaintiffs should not be

   required to disprove the existence of a written agreement authorizing deductions and, instead, the

   existence of such an agreement should be considered an affirmative defense that Xclusive and

   Westin should bear the burden of proving. Response at 18–19. This argument misses the mark.

   Even if the existence of a written agreement authorizing $3 deductions were considered an

   affirmative defense, the Complaint specifically alleges that Xclusive and all Plaintiffs entered

   into contracts permitting $3 to be deducted from each employees’ paycheck. Compl. at ¶ 99.

   The “affirmative defense” is apparent on the face of the Complaint, and therefore, any claim

   regarding “illegal deductions” based on $3 deductions may be dismissed. See Fourth Corner

   Credit Union v. FRB, 861 F.3d 1052, 1058 (10th Cir. 2017) (“If the defense appears plainly on

   the face of the complaint itself, the motion may be disposed of under Rule 12(b)(6).”) (citing

   Miller v. Shell Oil Co., 345 F.2d 891, 893 (10th Cir. 1965)).

          Plaintiffs next argue that, even though they have alleged the existence of written

   agreements authorizing the $3 deductions, the Court should hold that the agreements are

   ineffective because they do not specifically spell out the reasons for the deductions. Response at

   17–18 (“A written agreement to deduct $3.00 per pay check with no description of the purpose

   of the deduction cannot suffice as a written agreement for a ‘good or service.’”). There is no

   requirement in the statute that a payroll deduction agreement contain specific language

   describing the reason for the deduction. The only requirements are (1) that the agreement be

   enforceable and (2) that the deduction be for “loans, advances, goods or services, and equipment

   or property by an employer to an employee.” C.R.S. § 8-4-105(1)(b). Indeed, Plaintiffs cite no




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   legal authority for their “specificity argument,” which is simply an attempt to add a specificity

   requirement to the statute where none exists.

          Plaintiffs’ final argument is that, even if the Complaint alleges the existence of an

   agreement covering the $3 deductions, and even if there is no specificity requirement, the $3

   deduction for providing a paycheck cannot be considered a “service” because Xclusive and

   Westin have a preexisting legal duty to pay their employees. Response at 18. This argument

   also misses the point. There are a variety of ways Xclusive and Westin may compensate

   employees, including via direct deposit, cash, check, or deposit onto debit cards. See Colo. Rev.

   Stat. § 8-4-102. In other words, there is no legal duty to provide employees with a paper check,

   and providing a paper check is a “service” that may be subject to a deduction agreement.

          Plaintiffs’ seventh claim should, therefore, be dismissed to the extent that it is based on

   alleged $3 deductions from each paycheck. The deductions were authorized by employees, as

   Plaintiffs concede in the Complaint. See Compl. at ¶ 99. Indeed, as explained in Defendants’

   Motion, Plaintiffs’ seventh cause of action should be dismissed in its entirety because Plaintiffs

   fail to allege that additional wage deductions clothing, name tags, background checks, tools, and

   equipment were unauthorized. See Motion at 17–18.

   V.     Plaintiffs’ Contract and Quasi-Contract Claims Fail.

          Defendants’ Motion seeks dismissal of Plaintiffs’ breach of contract, breach of implied

   contract, and unjust enrichment claims to the extent the claims are based on nonpayment of

   overtime wages. Motion at 19. As the Court held when addressing the same claims in Valverde,

   such claims are preempted by the FLSA. Valverde, Dkt. No. 193 at 19–20, 23 (citing cases); see

   also Barnett v. Pikes Peak Cmty. Coll. Police Dep’t, 2015 WL 4245822 (D. Colo. 2015)

   (plaintiffs’ breach of contract claims for overtime wages preempted by FLSA). Plaintiffs’

   Response merely rehashes the same argument rejected by the Court in Valverde. See Response




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   at 19 (citing Irigoyen-Morales v. Concreations of Colo., Inc., 2016 U.S. Dist. LEXIS 85837 (D.

   Colo. 2016); Valverde, Dkt. No. 91 at 33 (making same argument and citing same case).

          Plaintiffs’ unjust enrichment claim should, in fact, be dismissed in its entirety because an

   unjust enrichment claim “cannot be maintained where the parties have reached an agreement

   between themselves as to the terms upon which compensation will be paid (absent an allegation

   that the agreement is invalid or unenforceable . . . .)” Perez v. Pinon Mgmt. Inc., 2013 WL

   1149567, *9 (D. Colo. 2013) (emphasis added). See also Jorgensen v. Colorado Rural

   Properties, LLC, 226 P.3d 1255, 1259 (Colo.App.2010) (“[A] claim for unjust enrichment may

   not be asserted if there is a valid contract covering the subject matter of the alleged obligation to

   pay”). Here, Plaintiffs admit they were parties to employment contracts with Xclusive that

   promised payment of “an hourly wage for all hours worked” and that “incorporate[ed] state and

   federal wage and hour laws.” Compl. at ¶¶ 241–42. Plaintiffs do not allege the contracts are

   invalid or unenforceable. Plaintiffs’ unjust enrichment claims are, therefore, barred by the

   existence of their alleged employment agreements.

          In their Response, Plaintiffs argue their unjust enrichment claims should not be dismissed

   because they are “pled in the alternative, if the contract claim fails.” Response at 19. This

   argument cannot salvage their claims. In Perez, the court dismissed plaintiff’s unjust enrichment

   claim where the plaintiff alleged “a contractual relationship existed between [herself] and

   Defendants wherein Defendants agreed to pay [her] for all hours worked,” but failed to allege

   that the agreement was invalid or unenforceable. Perez, 2013 WL 1149567 at *9. The same

   result should occur here. See also EchoStar Satellite, L.L.C. v. Splash Media Partners, L.P.,

   2010 WL 3873282, *8 (D. Colo. 2010) (holding that “ ‘[a]lternative pleading ... does not limit

   the principle that an express contract precludes an implied contract on the same subject matter’ ”

   and the “fact that EchoStar's breach of contract claim may fail does not allow EchoStar to plead




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   unjust enrichment in the alternative”) (quoting Interbank Investments, LLC v. Eagle River Water

   & Sanitation Dist., 77 P.3d 814, 816 (Colo.App.2003)).

          Finally, the Court should also dismiss Plaintiff’s promissory estoppel claim, just as it did

   in the Valverde case. Plaintiffs fail to allege facts supporting the second element of their claim –

   i.e., they fail to allege they reasonably and detrimentally relied on a promise made by Xclusive.

   Motion at 19–20; Valverde, Dkt. No. 193, at p. 20. Plaintiffs argue they relied on a promise in

   their contracts with Xclusive that they would be paid for every hour worked. Response at 20.

   This allegation appears nowhere in the Complaint, however. Accordingly, the claim should be

   dismissed.

                                            CONCLUSION
          Defendants respectfully request that the Motion be granted in its entirety.

   Dated: December 12, 2017.
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                                CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on this 12th day of December, 2017, I electronically filed the
   foregoing DEFENDANTS’ REPLY IN SUPPORT OF MOTION PURSUANT TO FED. R.
   CIV. P. 12(b)(1) AND 12(b)(6) FOR PARTIAL DISMISSAL OF PLAINTIFFS’ CLASS
   AND COLLECTIVE ACTION COMPLAINT with the Clerk of the Court using the CM/ECF
   system which will send notification of such filing to the following e-mail addresses:

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                                                  s/ Louisa Boyte




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